UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x

UNITED STATES OF AMERICA, :
Vv. : ORDER
21-CR-497 (WFK)
DAVID MOTOVICH, MARINA KUYAN,
and JOSHUA MARKOVICS,
Defendants. :
x

WILLIAM F. KUNTZ, II, United States District Judge:

The Court is in receipt of the parties’ proposed pre-trial calendar. ECF No. 208. The

Court hereby ORDERS the following pre-trial calendar:

As previously set, oral argument on pre-trial motions will be held on Thursday,
March 21, 2024 at 1:30 P.M.;

A suppression hearing will be held on Tuesday, April 2, 2024 at 9:30 A.M.;

The Government’s expert disclosures and Rule 404(b) Notice are due by Friday,
April 26, 2024 at 5:00 P.M.;

Defendants’ expert disclosures are due by Friday, May 3, 2024 at 5:00 P.M.;
Motions in limine are due by Friday, May 10, 2024 at 5:00 P.M.;

The Government’s response expert disclosures are due by Friday, May 17, 2024
at 5:00 P.M.;

The Government shall produce 3500 material on or before Monday, May 20, 2024
at 5:00 P.M.;

The Government shall produce its witness and exhibit lists by Monday, May 20,

2024 at 5:00 P.M.;
Case 1:21-cr-00497-WFK Document 211 Filed 03/05/24 Page 2 of 2 PagelD #: 1023

e Proposed jury instruction and voir dire instructions are due by Friday, May 24,
2024 at 5:00 P.M.;
e Parallel responses to motions in limine are due by Friday, May 24, 2024 at 5:00
P.M.;
e Parallel replies regarding motions in limine are due by Wednesday, May 29, 2024
at 5:00 P.M.;
e A final pre-trial conference will be held on Monday, June 3, 2024 at 12:00 Noon;
e Defendants shall produce their witness and exhibit lists by Friday, June 7, 2024 at
5:00 P.M.; and
e Jury selection will begin on Monday, June 10, 2024 at 5:00 P.M.
The Court DENIES defense counsel’s request to adjourn trial proceedings on
Wednesday, June 12, 2024 and Thursday, June 13, 2024.
In the interest of justice, time is excluded under the Speedy Trial Act through and

including June 10, 2024.

SO ORDERED.

s/ WFK

HONAWILLIAM F. KUNTZ, II
U.S. DISTRICT JUDGE

Dated: March 5, 2024
Brooklyn, New York
